Case 2:19-cv-02874-SVW-MAA Document 20 Filed 05/29/19 Page 1 of 4 Page ID #:94



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12   Attorneys for Defendant
13   [Additional counsel appearing on signature page]
14                        UNITED STATES DISTRICT COURT
15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17   Lee Wigod, individually and on behalf
     of all others similarly situated,          Case No. 2:19-cv-02874-SVW-MAA
18
                               Plaintiff,
19                                              JOINT STIPULATION TO
            v.                                  CONTINUE HEARING RE:
20                                              DEFENDANT’S MOTION TO
     CallFire, Inc., a Delaware corporation,    DISMISS (DKT. 17.)
21
                               Defendant.            Judge: Hon. Stephen V. Wilson
22
                                                  Complaint Filed: April 15, 2019
23
24   TO THE HONORABLE COURT AND THE CLERK OF THE COURT:
25         Pursuant to Local Civil Rules 7-1 and 7-11, Plaintiff Lee Wigod (“Plaintiff” or
26   “Wigod”) and Defendant CallFire, Inc. (“Defendant” or “CallFire”) by and through
27
28
     JOINT STIPULATION TO CONTINUE
     HEARING RE: DEFENDANT’S MOTION            -1-
     TO DISMISS (DKT. 17.)
Case 2:19-cv-02874-SVW-MAA Document 20 Filed 05/29/19 Page 2 of 4 Page ID #:95



 1   their respective counsel of record, hereby stipulate and request that the Court enter
 2   an Order as follows:
 3         WHEREAS, Plaintiff filed this action on April 15, 2019 (Dkt. 1);
 4         WHEREAS, on May 24, 2019, Defendant filed and served its Notice of
 5   Motion and Motion to Dismiss, which is presently set for hearing on June 24, 2019;
 6         WHEREAS, the Parties agree to continue the briefing and the hearing
 7   regarding Defendant’s Motion to Dismiss by three weeks until July 15, 2019;
 8         WHEREAS, this stipulation is not entered into for the purpose of delay;
 9         WHEREAS, the extension will enable the Parties to devote their time and
10   resources toward fully briefing the matter before the Court;
11         WHEREAS, no scheduling order has been entered and no trial date has been
12   set for this case and the Parties believe that the granting of the herein requested
13   continuance will not have any effect on the schedule of the case;
14         THEREFORE, in consideration of the foregoing, the Parties, by and through
15   their undersigned counsel, hereby stipulate, agree, and request that the Court enter an
16   Order as follows:
17          1.    That the hearing on Defendant’s Motion to Dismiss (dkt. 17) be vacated
18   and continued until July 15, 2019, at 1:30 p.m.;
19
20   IT IS SO STIPULATED.

21
22   Dated: May 29, 2019                     Lee Wigod, individually and on behalf of all
                                             others similarly situated,
23
24                                    By:      /s/ Steven L. Woodrow

25                                           Aaron D. Aftergood (239853)
26                                             aaron@aftergoodesq.com
                                             THE AFTERGOOD LAW FIRM
27                                           1880 Century Park East, Suite 200
28                                           Los Angeles, CA 90067
     JOINT STIPULATION TO CONTINUE
     HEARING RE: DEFENDANT’S MOTION            -2-
     TO DISMISS (DKT. 17.)
Case 2:19-cv-02874-SVW-MAA Document 20 Filed 05/29/19 Page 3 of 4 Page ID #:96



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 7
                                       Attorneys for Plaintiff Lee Wigod
 8
 9
     Dated: May 29, 2019               CallFire, Inc.,
10
11                               By:    /s/ Michael B. Hazzard

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25
                                       *Pro Hac Vice
26
27
28
     JOINT STIPULATION TO CONTINUE
     HEARING RE: DEFENDANT’S MOTION      -3-
     TO DISMISS (DKT. 17.)
Case 2:19-cv-02874-SVW-MAA Document 20 Filed 05/29/19 Page 4 of 4 Page ID #:97



 1                            CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on May 29, 2019.
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 6                                         /s/ Steven L. Woodrow
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     JOINT STIPULATION TO CONTINUE
     HEARING RE: DEFENDANT’S MOTION          -4-
     TO DISMISS (DKT. 17.)
